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			2021 OpinionsWeb Editor2021-01-11T09:00:48-05:00
			
			
				DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.

January
January 11, 2021

S20A1118. PALMER v. THE STATE

S21A0207. NESBY v. THE STATE

S20A1288. HARPER v. THE STATE

S20A1289. JOHNSON v. THE STATE

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